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                      SO ORDERED: May 5, 2022.




                       ______________________________
                       Jeffrey J. Graham
                       United States Bankruptcy Judge




                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

IN RE:                                )
                                      )
ALLEN DAVID FREEMAN,                  )
DEMONA ANN FREEMAN,                   )      Case No. 12-04713-JJG-13
                                      )
      Debtors.                        )
______________________________________)
DEMONA A. FREEMAN,                    )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )      Adv. Pro. No. 21-50006
                                      )
PHH MORTGAGE f/k/a OCWEN              )
LOAN SERVICING, LLC,                  )
OCWEN FINANCIAL CORPORATION, )
                                      )
                                      )
      Defendants.                     )

 ORDER GRANTING DEFENDANTS MOTION TO AMEND SCHEDULING
ORDER (CONTINUING FINAL TELEPHOINIC PRETRIAL CONFERENCE,
         TRIAL AND EXTENDING PRETRIAL DEADLINES)

      THIS MATTER comes before the Court on a Motion To Amend Scheduling

Order filed by Defendants PHH Mortgage Corporation, successor by merger to

Ocwen Loan Servicing, LLC and Ocwen Financial Corporation, by counsel on May

4, 2022 (the “Motion”). Defendants seek extensions of all pre-trial deadlines by
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approximately sixty (60) days and, at the Court’s convenience, to reset the trial

currently set August 10-12, 2022, for a time in October, 2022. The Court, having

reviewed the Motion, finds that good cause exists and GRANTS said Motion as

follows:

       1. Continues the Final Telephonic Pretrial Conference to October 18, 2022,

at 9:30 a.m. (Eastern time). Parties should dial into the AT&T Conference line at

877-848-7030 and enter Access code 8891756.

       2. Continues the Trial to November 2-4, 2022 at 9:00 a.m. (Eastern time),

to be held in Room #311, Birch Bayh Federal Building and United States

Courthouse, 46 East Ohio Street, Indianapolis, Indiana 46204. Trial time allotted

is three (3) days. Parties and counsel shall appear at least 15 minutes prior to the

time of trial.

       3. The deadline by which the parties shall file any dispositive motions is

extended to July 15, 2022.

       4. The deadline by which the parties shall exchange and file final exhibit

and witness lists is extended to August 12, 2022.

       5. The deadline for parties to complete discovery is extended to September

30, 2022. Parties are excused from the Initial Disclosure requirements of Rule 26

(a)(1) of the Federal Rules of Civil Procedure (made applicable to this adversary

proceeding pursuant to Rule 7026 of the Federal Rules of Bankruptcy Procedure)

but may conduct other discovery as authorized by the Rules.




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      6. The deadline for parties to exchange all potential exhibits is extended to

October 14, 2022. Parties shall pre-mark all exhibits, plaintiff using numbers and

defendant using letters. Originals shall be submitted to the Courtroom Deputy at

the time the exhibit is offered into evidence, and sufficient copies shall be available

for all parties, Judge, and Staff Attorney.

      7. At the conclusion of the trial, the Court may instruct the parties to file

post-trial briefs and to submit proposed Findings of Fact, Conclusions of Law, and

Judgment Entry.

      8. Motions for continuance must be filed as soon as cause for a continuance is

discovered. The motion shall denominate whether it is the first, second, third, etc.,

motion for continuance. Every motion shall state whether opposing counsel objects

to the continuance or shall state what reasonable efforts were made to contact

opposing counsel to make such an inquiry.

      9. Failure to abide by the above orders without just cause may result in

motions being summarily ruled upon or evidence being excluded at trial.


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